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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Siu Shong Tsang, et al.
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:23−cv−06614
                                                                       Honorable Mary M.
                                                                       Rowland
Individuals, Corporations, Limited Liabilites,
Partnerships and Unincorporated Associations Identified
on Schedule A Hereto, The, et al.
                                                          Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 20, 2023:


        MINUTE entry before the Honorable Mary M. Rowland: Defendants' motion to
set briefing schedule [68] is granted. The Clerk's Office is directed to unseal Dockets 31
and 52 including the exhibits to docket 52. Defendants are given until 12/1/23 to respond
to the motion for preliminary injunction. Plaintiff is to file a status report by 12/8/23
updating the court how many defendants remain and whether the request for preliminary
injunction is still necessary. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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